                                   Case 18-12615-KG                 Doc 1        Filed 11/14/18           Page 1 of 14

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Lamington Road Designated Activity Company

2.   All other names debtor
     used in the last 8 years
     Include any assumed          FKA Lamington Road Limited
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  Grand Canal House
                                  2nd Floor Palmerston House
                                  Fenian Street
                                  DUBLIN 2 IRELAND
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                                                                                  Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       N/A


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Lamington Road Designated Activity Company                                                 Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5242

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                          Chapter 11. Check all that apply:
                                                              Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                Case number
                                                 District                                 When                                Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     White Eagle General Partner, LLC                              Relationship              Affiliate
                                                 District   Delaware                      When                            Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                    Case 18-12615-KG                Doc 1        Filed 11/14/18              Page 3 of 14
Debtor   Lamington Road Designated Activity Company                                              Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                    5001-10,000                               50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor   ~~~~n fan Road~nated Activit +~Com an                                                     case number (if known)
          Name



         Request for Relief, D~olaratinn, and Signatures

                                                                                                                                             ~5Q0,40o or
WARNING --Bankruptcy Baud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
          imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declarafion and signature
    of authorized                 The debtor requests relief in accordance with the chapter of titla 11, United States Cade, specified in this petition.
    representative of debtor
                                   have been authorized to file this petition on behalf of the debtor,

                                   have examined the information +n this petition and have a reasonable belief tha#the infarmaflon is trued and correct.

                                  i daciare under penalty ofi perJury that the foregoing is true an8 oarrect.

                                  Exeouted on      I~~~~~~~~~ t~
                                                   MM D~ / YYY


                             x iG(...v                     ~ .-~c~,                                        Miriam Martinez
                                                 ha
                                  Signature of oaut d representative of deb or                             printed name

                                  Title   Ghief Financial OfFfcer




                             .X                       ~            ~                                        pate jf ~1~(3`~'                  ~~
18. 8lgnature of attorney
                                  Signature of attorney for debtor                                               MM / aD!YYYY

                                  Colin R. Robinson                                                                         _~_ _,                         _w_~..,
                                  Printed name

                                  Pachuiski Stang xiehl & Sanes L.LP
                                  Firm name

                                  919 N. Market Street
                                  17th ~laor
                                  Wilmington, C3~ 19898                                                                ~                                    ~_
                                  iVumber, StreeF, City, State &ZIP Code

                                   Contact phone     302-852-4140                  Email address      erabinsort@pszjlaw.com


                                   5524 DE
                                   Bar number and State




                                             Voluntary petitipn for Non-fndividuais Filing for Bankr~~pEcy                                                 page 4
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  Fill in this information to identify the case:

  Debtor name    Lamington Road Designated Activity Company
  United States Bankruptcy Court for the:   District of Delaware
                                                                           (State)
                            18-                                                                                                           Check if this is an
  Case number (If known):
                                                                                                                                          amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims and Are Not Insiders                                                                                                                   12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
largest unsecured claims, on a consolidated basis.


 None [check if applicable]
 Name of creditor and complete mailing Name, telephone number, and     Nature of the       Indicate if     Amount of unsecured claim
 address, including zip code           email address of creditor       claim               claim is        If the claim is fully unsecured, fill in only unsecured
                                       contact                         (for example,       contingent,     claim amount. If claim is partially secured, fill in total
                                                                       trade debts, bank   unliquidated,   claim amount and deduction for value of collateral or
                                                                       loans,              or disputed     setoff to calculate unsecured claim.
                                                                       professional
                                                                       services, and
                                                                       government
                                                                       contracts)                          Total claim, if   Deduction for     Unsecured claim
                                                                                                           partially         value of
                                                                                                           secured           collateral or
                                                                                                                             setoff
                                                                                                                                               



                                                                                                                                               



                                                                                                                                               



                                                                                                                                               



                                                                                                                                               



                                                                                                                                               



                                                                                                                                               



                                                                                                                                               
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                         IN THE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF DELAWARE

In re:                                                Chapter 11

LAMINGTON ROAD DESIGNATED                             Case No. 18-_____ (___)
ACTIVITY COMPANY,

                               Debtor.

                   CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)


               Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges
to evaluate possible disqualification or recusal, the Debtor, certifies that the following is a
corporation other than the Debtor, or a governmental unit, that directly or indirectly owns 10% or
more of any class of the corporation’s equity interests, or states that there are no entities to report
under FRBP 7007.1.


 None [check if applicable]

           Name:           Markley Asset Portfolio, LLC
           Address:        5355 Town Center Road
                           Suite 701
                           Boca Raton, FL 33486




DOCS_SF:98203.1
                  Case 18-12615-KG      Doc 1    Filed 11/14/18     Page 12 of 14



                         IN THE UNITED STATES BANKRUPTCY COURT

                               FOR THE DISTRICT OF DELAWARE

In re:                                              Chapter 11

LAMINGTON ROAD DESIGNATED                           Case No. 18-_____ (___)
ACTIVITY COMPANY,

                              Debtor.


                            LIST OF EQUITY SECURITY HOLDERS


Following is the list of the Debtor’s equity security holders which is prepared in accordance with rule
1007(a)(3) for filing in this Chapter 11 Case:



  Name and Last Known Address or             Security       Number of          Kind of Interest
      Place of Business of Holder             Class         Securities
Markley Asset Portfolio, LLC
5355 Town Center Road, Suite 710                                             100% ownership
Boca Raton, FL 33486




DOCS_SF:98203.1
                  Case 18-12615-KG     Doc 1   Filed 11/14/18    Page 13 of 14



                      IN THE UNITED STATES BANKRUPTCY COURT

                            FOR THE DISTRICT OF DELAWARE

In re:                                            Chapter 11

LAMINGTON ROAD DESIGNATED                         Case No. 18-_____ (___)
ACTIVITY COMPANY,

                             Debtor.

                        CERTIFICATION OF CREDITOR MATRIX


               Pursuant to Rule 1007-2 of the Local Rules of Bankruptcy Practice and Procedure
for the United States Bankruptcy Court for the District of Delaware, the above captioned debtor
(the “Debtor”) hereby certifies that the Creditor Matrix submitted herewith contains the names
and addresses of the Debtor’s creditors. To the best of the Debtor’s knowledge, the Creditor
Matrix is complete, correct, and consistent with the Debtor’s books and records.

                The information contained herein is based upon a review of the Debtor’s books
and records as of the petition date. However, no comprehensive legal and/or factual
investigations with regard to possible defenses to any claims set forth in the Creditor Matrix
have been completed. Therefore, the listing does not, and should not, be deemed to constitute:
(1) a waiver of any defense to any listed claims; (2) an acknowledgement of the allowability of
any listed claims; and/or (3) a waiver of any other right or legal position of the Debtor.




DOCS_SF:98203.1
                                Case 18-12615-KG                           Doc 1         Filed 11/14/18       Page 14 of 14




Rebtar name         Laml__n~tan (toad pesignated Activit~r Company

United States Bankruptcy Court for the:           DISTRICT OF DELP,WARE

Case number {(f known)
                                                                                                                                p Check if this 'ts an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Per►a[t of Perjury for Non-Individual Debtors                                                                                          ~~t~~
                                                                                                                                 and submit this
An indivlduat who 3s authorized to act on behalf of anon-Individual debtor, such as a corporaY'snn or partnership, must sign                 any
forn3 for the schedules of assets and liabilities, any other document that requires a dec[aratfon that is ncst included in the document,and
amendments of those docamenks. Thls form must state the individual's posiEion ar relationship to the debtor, Ehe identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.
                                                                                                                                         in
WARNING -• Bankruptcy fraud Is a serious crime. Making a false statement, concealing progerty, yr obtaining money or property by fraud
                                                                                                                              152, 1341,
aonn~ctinn with a bankruptcy case can resuit in fines up ko $500,000 or imprisonment for up to 20 years, or both. 18 U.3.C.§§
9549, and 371.


                Declaration and signature

       i am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative o#the debtor in this case.

       i have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

        p         Schedule MB:Assess—Real and Personal f'roperfy (Official farm 206A/B)
        p         Schedule p; Creditors Who Have G/aims Secured by Property(Otficiai Form 206D)
        (~        Schedule ~/F; Creditors Who Have Unsecured Claims (Official Form 206E/F)
        Q         Schedule G:Executory Canfracfs and Unexpired Leases(Official Form 206G)
        ❑         Schedule N. Codebtors (Official Form 206H)
        Q         Summary of Assets and Liabilities for Non-Individuals (Offciel ~ortn 206Sum)
        p         Amended Schedule
                                                                                                                                                 204)
        ~         Chapter 9 9 or Chapter 9 Cases: Lief of Creditors Wha Nave the 20 Largest Unsecured Claims and Are Not insiders {Official Form
         ■        Other document that squires a declaration                 ~nrpprate Ownership Statement, List pf Equity Woiders, Creditor Matrix
                                                                            Certification

        1 declare under penalty of er)ury that the foregoinc

         Executed on            ~~ / ° Lf!~~1                        X


                                                                         Miriam Martinez
                                                                         Printed name

                                                                         Chief Financial gfffeer
                                                                         Position or relationship to debtor




 OfliciaE Form 202                                            beclaraEian Under Penalty of Perjury for Non•Individual Debtors
                                                                                                                                               Bast Case 8anktuptoy
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